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From: Brand, Benjamin <Benjamin.Brand@unt.edu>
Sent: Friday, December 11, 2020 4:35 PM
To: Jackson, Timothy <Timothy.Jackson@unt.edu>
Subject: Follow-Up

Dear Tim,

Thanks for meeting with me this afternoon. I want to clarify and confirm a couple of points that I made over Zoom:

    1. I believe the JSS would be best served by having a single editor-in-chief who oversees all aspects of the journal
       and who is a faculty member at another institution. There might be other positions as well, e.g. that of associate or
       assistant editor, but they would report to the editor-in-chief. This would provide clarity in the administrative and
       reporting structure.
    2. Whoever serves as the first editor-in-chief should have input in reformulating the administrative structure of the
       journal and, in particular, recruiting new members of the editorial board.
    3. I cannot support a plan according to which you would remain involved in the day-to-day operations of the journal,
       and its editorial process in particular, given the panel’s findings of editorial mismanagement at JSS.

You expressed your desire that I read your response to the panel’s report before I make any definitive judgements and, of
course, I will read your report carefully when I receive it. You also informed me of your desire to discontinue the Center of
Schenkerian Studies due to Stephen Slottow’s recent severing of ties with the Center. I would support you in that decision
and will assist you in that process if that is indeed what you decide. Finally, you mentioned the possibility of relocating the
JSS and thus severing ties between the journal, UNT, and UNT Press. Again, I would support you in that decision if that
proves to be the best way forward. Upon further reflection, I would add that you might consider starting an entirely new
journal dedicated to Schenkerian studies, one with a different name, different publisher, and different institutional home.
That would provide you and others involved in the project with a cleaner break with the controversy that has surrounded
the most recent volume of the JSS.

As we agreed, we will meet again on Wednesday, Dec. 16 at 10:00am to discuss these matters further. The Zoom link is:
https://unt.zoom.us/j/81337554564. Thanks again for your time this afternoon.

Sincerely,
Benjamin

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